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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                  Bid Protest
__________________________________________
                                           )
HIGHER EDUCATION LOAN AUTHORITY )
OF THE STATE OF MISSOURI                   )
                                                     )
and                                                  )
                                                     )
GRANITE STATE MANAGEMENT AND                         )
RESOURCES,                                           )
                                                     )
                              Plaintiffs,            )
                                                     )
v.                                                   )             19-478 C
                                                             No. ____________________
                                          )
THE UNITED STATES OF AMERICA,             )
                                          )
                        Defendant.        )
__________________________________________)

                                            COMPLAINT

       Plaintiff, Higher Education Loan Authority of the State of Missouri (“MOHELA”), and

Plaintiff, Granite State Management and Resources (“GSMR”), by and through the undersigned

Attorney of Record, upon personal knowledge as to themselves, their own acts, and the contents

of the documents referred to herein, and upon information and belief as to all other matters,

hereby bring this bid protest action against Defendant, the United States of America, and for

their Complaint allege as follows:

                                  NATURE OF THE ACTION

       1.       This action is a pre-award protest against the U.S. Department of Education’s (the

“Department” or “Agency”) procurement of a Next Generation Financial Services Environment

(“NextGen”), which includes Solicitation No. 910031-19-R-0005 (Enhanced Processing

Solution) (“EPS solicitation”), Solicitation No. 910031-19-R-0007 (Optimal Processing

Solution) (“OPS solicitation”), and Solicitation No. 910031-19-R-0008 (Business Process
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Operations) (“BPO solicitation”). Together, these three solicitations are referred to herein as the

“NextGen solicitations.”

       2.       As set forth below, the Agency’s procurement approach in the NextGen

solicitations is contrary to law and regulation for several reasons. First, the EPS solicitation and

OPS solicitation are in violation of law because the Agency is attempting to acquire – from a

single entity – (i) a new loan servicing information technology (“IT”) system together with (ii)

manual loan servicing operations capable of covering its entire current portfolio of over 37

million student loan accounts; whereas, the FY 2019 Appropriations Act mandated that the

Department “shall not award funding for any contract solicitation for a new Federal student loan

servicing environment … unless such an environment provides for the participation of multiple

student loan servicers that contract directly with the Department of Education to manage a

unique portfolio of borrower accounts and the full life-cycle of loans from disbursement to

pay-off …” See “Department of Defense and Labor, Health and Human Services, and Education

Appropriations Act, 2019 and Continuing Appropriations Act, 2019,” Pub. L. No. 115-245, Sept.

28, 2018, 132 Stat. 2981, Div. B, Title III (the “FY 2019 Appropriations Act”) (emphasis added).

       3.       Notably, on March 19, 2019, the Department modified the EPS solicitation to

remove “transitional” loan servicing. In a status conference held in a related case, the

Department of Justice commented that this action was taken “to take the loan servicing pieces

out of the EPS procurement” and to “clear the way” for the EPS solicitation to move forward.

FMS Investment Corp., et al. v. United States, Case No. 19-308, ECF No. 46, Mar. 21, 2019,

Hearing Tr. 29:8-20.

       4.       In striking “transitional” loan servicing from the EPS solicitation, however, the

Department added the flexibility for it to order a wide variety of “manual” loan servicing



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functions throughout the anticipated EPS contract’s entire ten-year performance period. In

addition, the EPS solicitation still includes substantial requirements for printing, mailing and

imaging correspondence with borrowers. Thus, the EPS solicitation still contains critical,

traditional loan servicing functions, which go far beyond acquiring an IT system and encroach

upon substantial loan servicing work, including but not limited to payment processing,

researching lost or misapplied payment, payment reapplication at the request of the borrower or

FSA, credit bureau research resolution including direct and indirect disputes filed by borrowers

or initiated by the credit bureaus, printing and mailing of all borrower correspondence, manual

correction of errors, financial reporting, reconciliation, variance research, and resolving rejected

transactions. Contrary to the FY 2019 Appropriations Act’s mandate, the revised EPS

solicitation does not allow for multiple loan servicers to contract directly with the Department to

manage unique portfolios of loans for their full life-cycle.

        5.       Likewise, although the OPS solicitation was amended on March 27, 2019 such

that it no longer contains line items specifically calling for business process operations, it still

ambiguously includes requirements for “personnel to do manual processing related to financial

functions, interface support, and error/dispute investigation and processing to be performed at the

portfolio level.” Moreover, the OPS solicitation includes a laundry list of required “financial

servicing functions” and “financial and portfolio level functions.” The identified services in

those sections of the OPS solicitation are handled through individual borrower interactions, not

automated IT features. Thus, the Department has seemingly retained the flexibility to acquire

“whatever it wants” under the EPS and OPS solicitations, including loan servicing work for both

defaulted and non-defaulted accounts for up to ten years from a single vendor.




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       6.       In short, while the recent solicitation amendments purport to direct the focus of

the EPS and OPS solicitations on procuring an IT system, those solicitations still contain critical,

traditional loan servicing functions which seemingly can be continued with a single awardee for

ten years. This undercuts the integrity, and possibly the viability, of the BPO solicitation and

highlights the necessity for the solicitations to proceed on parallel tracks in order to comply with

the law.

       7.       Second, all three NextGen solicitations are contrary to the Higher Education Act,

20 U.S.C. § 1087f, which obligates the Department to (1) give “special consideration” to certain

entities such as MOHELA and GSMR in awarding contracts for loan servicing based on their

participation in the Federal Family Education Loan Program and history of high quality

performance, and (2) ensure that any contracts for loan servicing and collections are entered into

only with entities that “have extensive and relevant experience and demonstrated effectiveness.”

       8.       Third, the EPS and OPS solicitations consolidate requirements for developing a

new IT system together with requirements for loan servicing functions (for both defaulted and

non-defaulted loans). This approach is contrary to the Competition in Contracting Act

(“CICA”), 41 U.S.C. § 3301(a), because it limits competition on these substantial requirements

to vendors that can provide both a servicing system and servicing operations support. In fact, for

many years, the Department has not required its loan servicing contractors – which provide

incalculable value by offering operational expertise and manpower to service millions of student

loan accounts – to also be IT providers. Indeed, the Department’s separate BPO solicitation

(which is moving on a substantially delayed path) is prima facie evidence that the Department

has no need to acquire these requirements together. There is no legitimate basis for combining

operational requirements together with development of a new IT system in this procurement.



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       9.       Fourth, all three NextGen solicitations are littered with ambiguous, open-ended

and conflicting requirements. As a result, offerors are unable to make informed business

decisions on the nature and extent of their participation in the various elements of this

procurement. Moreover, the ambiguities leave offerors unable to intelligently prepare proposals

on the basis of a common understanding of the Department’s requirements. The Department’s

failure to describe its requirements in a clear and reasonable manner is contrary to law and

regulation. See 41 U.S.C. § 3306; Federal Acquisition Regulation (“FAR”) 15.304(d); FAR

15.101-1(b); FAR 5.002; FAR 5.207.

       10.      Accordingly, by this action, MOHELA and GSMR seek declaratory relief

providing that (a) the EPS solicitation and OPS solicitation are contrary to applicable

appropriations laws; (b) the Agency’s procurement approaches in all three NextGen solicitations

fail to comply with its obligations under the Higher Education Act; (c) the Agency’s

consolidation of loan servicing together with development of a new IT system imposes an

unreasonable restraint on competition; and (d) the Agency’s failure to describe its requirements

in the NextGen solicitations in a clear and reasonable manner precludes a fair competition in

violation of law and regulations.

       11.      MOHELA and GSMR also seek injunctive relief prohibiting the Agency from

moving forward with any contract awards under the NextGen solicitations in light of these

violations, the public interest of ensuring that government procurements are carried out fairly and

in accordance with law and regulation, as well as the irreparable harm to MOHELA and GSMR

that outweighs any harm to the Agency.




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                                        JURISDICTION

       12.     This Court has jurisdiction over the subject matter of this Complaint pursuant to

the Tucker Act, 28 U.S.C. § 1491(b)(1), because MOHELA and GSMR are alleging violations of

law and regulation in connection with the NextGen solicitations.

       13.     MOHELA and GSMR are interested parties to file and pursue this protest.

MOHELA and GSMR submitted separate proposals to the Agency under “Phase I” of the

February 20, 2018 iteration of the NextGen procurement. After MOHELA and others filed pre-

award protests in this Court challenging the Agency’s “Phase II” solicitations (Case No. 18-cv-

01679, et al.), the Agency announced on December 14, 2018 that it was taking corrective action.

       14.     The Agency issued the current NextGen solicitations on January 15, 2019 in order

to replace solicitations covering requirements for which MOHELA and GSMR had previously

submitted proposals, and which MOHELA had previously protested before the U.S. Government

Accountability Office (“GAO”) and this Court.

       15.     MOHELA and GSMR are fully qualified to submit proposals under the BPO

solicitation. Further, but for the contested issues raised herein, MOHELA and GSMR would

have a substantial chance of obtaining contracts to provide the Agency with the loan servicing

work that has been improperly included in the EPS and OPS solicitations.

                                         THE PARTIES

       16.     Plaintiff, MOHELA, is a public instrumentality and body politic and corporate of

the State of Missouri, established in 1981 pursuant to the Missouri Higher Education Loan

Authority Act, §§ 173.350 to 173.445 of the Missouri Revised Statutes. MOHELA’s principal

place of business is at 633 Spirit Drive, Chesterfield, MO 63005. MOHELA is widely

recognized for its world-class student loan servicing and is currently a prime contractor to the



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Department for these services. MOHELA is the fifth-largest servicer of student loans originated

and funded directly by the Department, and in recent years MOHELA has been ranked as the

highest performing servicer, as measured by the Department’s performance metrics, in every

rating period.

       17.       Plaintiff, GSMR, along with its affiliate New Hampshire Higher Education Loan

Corporation (“NHHELCO”), were organized through the New Hampshire Higher Education

Assistance Foundation (“NHHEAF”). All three entities are nonprofit organizations under

Internal Revenue Code § 501(c)(3). GSMR’s principal place of business is at 4 Barrell Ct,

Concord, NH 03301. GSMR is also a widely-recognized leader providing best-in-class student

loan servicing and is a subcontractor under the Department’s current program for these services.

       18.       Defendant, the United States of America, for all purposes relevant hereto, acted

by and through the Department’s Office of Federal Student Aid (“FSA”) in Washington, D.C.

                                   FACTUAL BACKGROUND

       A.        Background on Federal Student Loan Servicing

       19.       Pursuant to the Higher Education Act of 1965, Pub. L. No. 89-329, Congress

established the guaranteed student loan program known as the Federal Family Education Loan

Program (“FFELP”), allowing banks and private institutions to provide loans to students that

were guaranteed by the federal government. MOHELA and GSMR’s sister organization

(NHHEAF) are among the entities that entered agreements with the Department under 20 U.S.C.

§ 1078(b) and (c) to participate in FFELP. FFELP accounted for the majority of all federal

student loans made prior to 2010.

       20.       In 2010, FFELP was effectively replaced with the William D. Ford Federal Direct

Loan Program (the “Direct Loan Program”); however, millions of loans made under FFELP



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continue to be serviced and collected upon. In contrast to FFELP, the Direct Loan Program

allows students to obtain loans directly from the Department, i.e., the loans are funded by the

government but actually serviced by contractors who specialize in those operational processes.

       21.     Although the Direct Loan Program is currently the primary government-backed

student loan program available in the U.S., it began as a pilot “demonstration” program. See

“Higher Education Amendments of 1992,” Pub. L. No. 102-325, July 23, 1992, 106 Stat. 448,

Title IV, Part D, § 451 et seq. As part of that demonstration, in or about 1993, the Department

contracted with a company known as ACS Education Solutions (“ACS”) as the single provider

of both the software platform and the loan servicing for all student loan accounts processed

under the Direct Loan Program.

       22.     The single servicer and single software platform established for the Direct Loan

Program proved to be what was widely reported as extremely costly to the federal government

and to the student loan borrowers, while also providing very poor service and a lack of access to

benefits and services otherwise available through a competitive and performance-based student

loan servicing marketplace.

       23.     In light of this experience, the Department issued a solicitation and selected four

large and established student loan servicers in 2009 to assist with the rapidly-growing Direct

Loan Program. See Contract Nos. EDFSA09D0012, EDFSA09D0013, EDFSA09D0014, and

EDFSA09D0015. Those four companies, referred to as Title IV [from Title IV of the Higher

Education Act] Additional Servicer entities or “TIVAS entities,” were: (a) “Navient,” a spinoff

of Sallie Mae and a publicly-traded Delaware corporation; (b) “Nelnet,” a publicly-traded

Nebraska corporation; (c) the Pennsylvania Higher Education Assistance Agency, a state agency




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headquartered in Harrisburg, Pennsylvania (“PHEAA”); and (d) Great Lakes Educational Loan

Services, Inc. (“Great Lakes”), a for-profit corporation headquartered in Madison, Wisconsin.

       24.     The 2010 amendments to the Higher Education Act required that, effective July 1,

2010, all new federal student loans would be Direct Loans made by the federal government, and

the origination of new loans under FFELP would cease as of that date. “Health Care and

Education Reconciliation Act,” Pub. L. No. 111-152, March 30, 2010, 124 Stat. 1029, Title II,

Part II, § 2201 et seq. (“HCERA”). However, loans made under FFELP through entities such as

MOHELA and GSMR’s sister organization continue to be serviced and collected upon.

       25.     The HCERA legislation reflected Congress’ intent and expectation that the

Department implement and foster a performance-based, competitive student loan servicing

environment for purposes of the Direct Loan Program. Specifically, the Department was

required to contract with and assign each qualifying Not-For-Profit (“NFP”) servicer a minimum

of 100,000 borrower accounts. Id., § 2212 (amending 20 U.S.C. § 1087f (2010)). At the time,

there were nearly three dozen NFPs that met the qualification requirements, including

MOHELA.

       26.     The Department and MOHELA executed a contract in September 2011 pursuant

to which MOHELA became the first NFP with a prime servicing contract for Direct Loans.

Around this same time, the Department and NHHELCO (an affiliate of GSMR) also executed a

Direct Loan prime servicing contract. The Department awarded prime contracts to a number of

additional NFPs, in addition to continuing its contracting relationships with the TIVAS entities.

       27.     The 2011 NFP servicing contracts were awarded for a five-year period of

performance, and they were renewed in 2016 for many NFPs (including MOHELA and




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NHHELCO) for an additional performance period that is scheduled to end in September 2019.

In 2012, NHHELCO added GSMR as a key subcontractor to its contract with the Department.

       28.     There are currently nine student loan servicing entities, i.e., five NFPs (including

MOHELA and NHHELCO/GSMR) and four1 TIVAS entities, which contract directly with the

Department to service the Department’s Direct Loan portfolio – a portfolio that exceeds 37

million student loan accounts.

       29.     Significantly, only the four TIVAS entities maintain their own proprietary loan

servicing software, and they license the use of their IT systems to the five prime NFP loan

servicers. MOHELA has a license to use the PHEAA software platform, and

NHHELCO/GSMR has a license to use the Nelnet software platform.

       B.      The 2016 Procurement

       30.     On April 4, 2016, the Department issued Phase I of a two-phase solicitation2 in

which the stated purpose was to acquire a single loan servicing software system that would be

utilized by the multiple student loan servicing entities. Five offerors submitted proposals in

response to Phase I of the 2016 solicitation, which did not include MOHELA or GSMR because

they do not own a student loan servicing system and have performed their services using licensed

software.

       31.     On October 26, 2016, the Department issued the second phase of its procurement

via Solicitation No. ED-FSA-17-R-0001. Consistent with the first phase, that solicitation’s

purpose was to acquire the IT system only, and it made clear that the IT system would be made


1
 Great Lakes was recently acquired by another TIVAS entity (Nelnet), although it is not clear
whether they continue to operate independently for purposes of obtaining federal contracts.
2
 The solicitation was unnumbered and did not conform to the Uniform Contract Format in FAR
15.204-1.


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available by the government to all nine student loan servicing contractors (i.e., the TIVAS and

NFPs) to enable those contractors to operate on a uniform technology platform. Significantly,

that solicitation demonstrated that the Department knows how to acquire a loan servicing

platform separately from the loan servicing operational support.

       32.     On May 19, 2017, however, the Department amended that solicitation to

completely eliminate the concept that the loan servicing solution would “be utilized by multiple

customer service providers.” In fact, the Department shifted that procurement to a “winner-take-

all” approach whereby the awardee of the IT system contract would also be providing the manual

and operational loan servicing work (i.e., making phone calls, processing payments, printing and

mailing correspondence, resolving credit disputes, performing financial reporting/reconciliation

and otherwise communicating with borrowers – the work that MOHELA and GSMR perform)

for the Department’s current and future portfolio of borrower accounts.

       33.     On July 7, 2017, MOHELA submitted a pre-award protest to the GAO, docketed

as B-414262.2, in which MOHELA objected to the Agency’s substantial change in its

requirements. MOHELA’s protest explained that the Agency’s expansion of its requirements,

which had occurred after a down-selection of eligible offerors that had submitted proposals only

for the software solution and excluded MOHELA, was contrary to the CICA. MOHELA also

emphasized that the Agency’s decision to acquire all loan servicing from a single entity was

contrary to Congress’ mandate in the FY 2017 appropriations law, which stated as follows:

               Provided, That the Secretary shall allocate new student loan
               borrower accounts to eligible student loan servicers on the basis of
               their performance compared to all loan servicers utilizing
               established common metrics, and on the basis of the capacity of
               each servicer to process new and existing accounts...




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“Consolidated Appropriations Act, 2017,” Pub. L. No. 115-31, May 5, 2017, 131 Stat. 135, Div.

H, Title III.

        34.     On August 1, 2017, prior to the due date for the Agency Report, the Department

announced that it had decided to cancel the solicitation as “no longer accurately reflect[ing] the

agency’s requirements.” The notice stated that the Department’s anticipated revisions “would be

so substantial as to exceed what prospective offerors reasonably could have anticipated” and thus

“[a]dditional sources likely would have submitted offers had the substance of the proposed

revised requirements been known to them.” Accordingly, the GAO dismissed the 2017

MOHELA bid protest as academic.

        C.      The NextGen Phase I Solicitation

        35.     On December 11, 2017, the Department announced that it was “embarking on a

new vision known as the Next Generation (NextGen) Financial Services Environment.” The

Agency issued a request for information to prospective offerors explaining that its vision

included dividing the procurement into discrete “components.” This included single

systems/providers for certain technological aspects of the NextGen environment, and multiple

loan servicers for the operational aspects of the NextGen environment. Importantly, that request

for information recognized the logical and historical separation of the IT aspects of the federal

student loan servicing program from its manual and operational aspects.

        36.     For instance, there was a component of the procurement that would be dedicated

to the “[c]ore processing platform, including rules engine, workflow, and core servicing system,”

which was further explained as the environment that “will perform all loan servicing processing

across FSA’s various repayment plans, customer segments, loan statuses, and special programs.”

There was a separate component anticipated for “Processing Operations,” which would include



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the manual aspects of loan servicing, such as “[r]eview, validation, and processing capabilities

associated with enrollment, applications, and requests for various borrower programs and loan

status adjustments,” “[e]rror and dispute resolution investigation and processing capabilities,”

and “[m]anual processing and support required to assist FSA reporting and oversight.”

Responses to the request for information were requested by January 4, 2018.

       37.     On February 20, 2018, the Department issued Phase I of a two-phase solicitation

to acquire the NextGen solutions that had been contemplated in the request for information. The

Phase I Solicitation explained that, in the current environment, each of nine different loan

servicers “operates its own engagement layer with proprietary branding (e.g., websites, mobile

tools, contact centers), utilizes one of four servicing platforms, and maintains certain additional

technical systems.” According to the Department, the use of different technology had created a

“fragmented vendor landscape” and resulted in inconsistent customer experiences, limited

branding opportunities (for FSA), and operational complexities.

       38.     The Department identified its vision for the NextGen procurement as including:

(1) “an enterprise-wide, FSA-branded omni-channel digital platform” that “will consolidate the

multiple websites, mobile applications, and contact centers that currently exist across the full

customer lifecycle (from application to servicing and default)”; (2) “a common, integrated data

management platform which contains all information of each student throughout the lifecycle” to

generate customer insights and reduce error rates; (3) “enterprise-wide cybersecurity”; (4)

solutions that are “implemented with both integration and future scalability in mind”; and (5) a

model that “will allow business process operations providers to ‘plug-in’ these solutions while

providing customers with a consistent, world-class customer experience.” In other words, the




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Department’s vision required a common technical backbone for use by its multiple loan

servicers to interact with borrowers on a consistent basis.

       39.     Consistent with the request for information’s use of “components” to segregate

the different aspects of this procurement, the Phase I Solicitation delineated the following nine

different “Components” of contractor support that the Department had identified as being

necessary to realize its vision, and offerors were permitted to respond to individual, multiple or

all Components:




       40.     In essence, as set forth in Phase I, Solution 3.0 entailed the development and

maintenance of a single environment for FSA’s new customers, and Solution 2.0 was the

environment that would be developed and maintained for FSA’s existing customers.

Components C and D were to include the technical systems necessary to service loans that reside

in Solutions 3.0 and 2.0, respectively; whereas, Components E and F were to include the

operational functions (such as the contact centers, back-office support, error/dispute resolution

and correction, account maintenance, financial-related functions, and printing/mailing all

servicing related materials) necessary to service the loans in Solutions 3.0 (Component C) and

2.0 (Component D) to the extent those operational functions were not automated.



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       41.     To reiterate, the Phase I Solicitation anticipated that “all” business process

operations, including print/mail operations and any transitional periods, would be provided by

the selected contractors under Components E and F. This was logically segregated from the

technical systems to be provided by the selected contractors under Components C and D. Thus,

the Phase I Solicitation demonstrated the Department could achieve its goals by acquiring a

common technical solution separately from the operational aspects of the work.

       42.     As nationally-recognized leaders in student loan servicing and current contractors

to the Department for servicing student loans originated and funded by the Department,

MOHELA’s and GSMR’s primary interests were in providing business process operations for all

aspects of loan servicing, to include but not limited to customer contacts, error/dispute

resolution, print/mail and back-end processing. Having recognized that the Phase I Solicitation

allocated all business process operations within Components E and F, MOHELA and GSMR

each submitted their own responses to the solicitation as prime contractors on Components E and

F prior to the April 18, 2018 deadline.

       D.      The NextGen Phase II Solicitations

       43.     On September 24, 2018, the Department issued Phase II solicitations. In doing

so, the Department split Component D and Component C into separate solicitations (Nos.

91003118R0022 and 91003118R0023, respectively) and consolidated Components E and F

together under a different solicitation (No. 91003118R0024).

       44.     Additionally, the Department announced the limited subset of offerors that had

been selected to participate in Phase II of the Component C, D, E and F solicitations.

       45.     Nine offerors were selected to participate in Phase II of the Components E and F

solicitation, including MOHELA, Edfinancial Services LLC, General Dynamics Information



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Technology Inc. (“GDIT”), Nelnet, Oklahoma Student Loan Authority, PHEAA,

Teleperformance, Trellis Company, and Utah Higher Education Assistance Authority. GSMR’s

offer was excluded from Phase II for reasons unrelated to this action.

       46.     Four offerors were selected to participate in Phase II of the Component D

solicitation, namely, GDIT, Infosys, Nelnet, and PHEAA.

       47.     With respect to its scope, the solicitation for Phase II Component D still covered

development and maintenance of the technical (IT) environment for FSA’s existing customers;

however, the Agency also moved a substantial portion of the scope from Components E and F to

Component D. In particular, the Agency added requirements to Component D that would permit

it to also acquire business process operations, including but not limited to contact center support,

student aid back-office processing and print/mail services, under the awarded contract.

Significantly, although a portion of those business process operations services were labeled as

covering only a “transitional” period, there was no defined end to the transitional period. The

Component D solicitation stated that these “transitional” services would continue “until the

future state business process operations (responsible for contact center support, student aid back-

office processing) are fully implemented or as otherwise determined by FSA” (emphasis added).

       E.      MOHELA’s 2018 GAO Protest

       48.     Prior to the due date for proposals under Phase II Component D, on October 31,

2018, MOHELA filed a pre-award bid protest at the GAO, which was docketed as B-417078.1.

       49.     MOHELA’s protest contended that the Agency’s movement of certain services to

Component D of the Phase II RFP was unreasonable and improper because: (a) Component D

was structured as a single-award contract and therefore the Agency’s procurement of business

process operations thereunder was in direct conflict with Congress’ mandate in the FY 2018 and



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FY 2019 Appropriations Acts; (b) the changes were so substantial as to exceed what prospective

offerors, including MOHELA, reasonably could have anticipated when the Phase I Solicitation

was originally issued, and therefore violated the CICA; (c) the changes expanded the Component

D procurement far beyond the scope and the purpose described in the Phase I Solicitation,

thereby violating the very statute upon which the two-phase procurement was authorized, 20

U.S.C. § 1018a; (d) the changes made in the Phase II Component D solicitation were so

substantial that they rendered the procurement in violation of FAR 15.206; and (e) the changes

unduly restricted competition by improperly bundling or consolidating requirements in a manner

that was beyond the Department’s legitimate needs.

        50.    On November 8, 2018, the GAO dismissed MOHELA’s protest pursuant to 4

C.F.R. § 21.11(b) because a bid protest had been filed in the U.S. Court of Federal Claims

involving the same procurement, namely, Navient Solutions, LLC v. United States, Case No. 18-

1679.

        F.     MOHELA’s 2018 Bid Protest in this Court

        51.    On November 14, 2018, MOHELA filed a bid protest in this Court challenging

the Phase II NextGen solicitations, and the protest was docketed as Higher Education Loan

Authority of the State of Missouri v. United States, Case No. 18-1758. The Court consolidated

MOHELA’s action with the Navient case and other bid protests that had been filed concerning

the NextGen procurement, including those of certain providers of default collection services.

        52.    On November 16, 2018, MOHELA filed a motion for a temporary restraining

order and preliminary injunctive relief requesting that the Court prohibit the Department from

proceeding with soliciting proposals or making any contract awards under the NextGen

procurement until resolution of its bid protest.



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       53.     On November 18, 2018, the Department agreed to delay the due date for receipt

of proposals under Phase II Component D in order to permit time for briefing and argument on

MOHELA’s motion.

       54.     On December 4, 2018, the Court held oral argument on MOHELA’s motion for a

preliminary injunction. At the conclusion of oral argument, the Court commented in part that:

               As I understand the case at this point…the former default student
               loan contractors, who are among the Plaintiffs in this case, seem to
               have a fairly convincing argument that they have been excluded
               from the competition in this NextGen procurement now that
               default student loans have been added to the mix and, yet, they’re
               not in a position to compete.

Case No. 18-1679, ECF No. 57, Dec. 4, 2018, Hearing Tr. 33:2-10.

       55.     In response to the Court’s comments, the Department agreed at the hearing to

delay the due date for receipt of proposals under Phase II Component D while it considered

whether to voluntarily take corrective action.

       56.     On December 14, 2018, the Department represented to the Court that it would

take corrective action that “will render the consolidated plaintiffs’ claims moot because it

provides the consolidated plaintiffs with the relief they seek: a fresh opportunity to participate in

the solicitation for support across the student aid lifecycle covered by NextGen components C,

D, E, and F.” Case No. 18-1679, ECF No. 66 at 1.

       57.     On January 15, 2019, the Department cancelled the NextGen Phase II solicitations

for Components C, D, E and F and issued new solicitations covering substantially the same

work. On the same day, the government requested that MOHELA’s complaint and the other

consolidated plaintiffs’ complaints be dismissed as moot.

       58.     The Court granted the government’s motion to dismiss on February 12, 2019.




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       G.      The Current NextGen Solicitations

       59.      On January 15, 2019, the Department issued the three solicitations that are the

subject of this protest, namely, the EPS solicitation, the OPS solicitation, and the BPO

solicitation. In contrast with the Department’s past two procurement efforts, these solicitations

do not contemplate the Department’s use of a two-phased procurement approach.

       60.     In a nutshell, the Department purports that the following are the roles of the

solicitations: the EPS solicitation is an IT platform accommodating the migration of all existing

borrower accounts, the OPS solicitation is an IT platform designed to accommodate future

borrower accounts, and the BPO solicitation is designed to provide for the traditional loan

servicing of the borrower accounts. However, as discussed herein, the EPS and OPS

solicitations materially intrude upon and undermine the loan servicing purported to be handled

by the BPO solicitation.

       i) The EPS Solicitation

       61.     The Department describes the EPS solicitation as the IT platform for all existing

student loan borrower accounts. However, as described below, it is actually an open door for a

sole student loan servicer to step through.

       62.     The EPS solicitation describes the Department’s objectives as follows:

               The Enhanced Processing Solution (Solution) will serve as the
               student financing servicing environment for FSA’s existing
               customers. Solution will provide full “life of the loan” servicing:
               servicing loans for customer accounts of all statuses, including
               those that are in default. Solution will rapidly migrate existing
               loans from current servicers, through loan migration (maintaining
               dynamic and complete customer historical data) while minimizing
               customer disruption, per target milestones 2 and 3 (Section C.3.5).
               Solution will also deploy advanced capabilities to provide
               customers with a world-class experience, improve automation (i.e.,
               reduce manual processing) and system flexibility, and reduce
               operational complexity and inefficiency for FSA.


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EPS solicitation, p. 6, § C.3.1 (emphasis added).

       63.     The EPS solicitation currently anticipates awarding a single firm-fixed price

contract that includes line items for: (1) Solution Delivery, which is to be completed no later

than three months after award; (2) Solution Operations and Maintenance, which includes a base

period of one year and nine one-year option periods; (3) Optional Imaging/Printing/Mailing, with

a base period of five years and one five-year optional ordering period; and (4) Optional Digital

Engagement Layer, which includes a base period of two years and a one-year optional period.

       64.     When the EPS solicitation was originally published on January 15, 2019, it also

provided that the EPS awardee would serve as the “sole” provider of business process operations

until the awardees under the BPO solicitation became “fully operational,” and it included a line

item under which the EPS awardee would continue to service approximately 20% of the student

loans for up to 15 years after that “transitional” period concluded.

       65.     On March 6, 2019, the Department amended the EPS solicitation such that the

EPS awardee’s ability to provide business process operations support would cease within 12

months of the awardees under the BPO solicitation becoming fully operational, but the EPS

solicitation maintained that the awardee would serve as the “sole” provider of business process

operations for a “transitional” period of up to four years – limited only by the “discretion” of

FSA. The March 6 amendment also added certain loan servicing functions to be performed by

the EPS awardee, including interface support, loan consolidation origination applications and

request processing, and credit dispute research and resolution.

       66.     On March 19, 2019, the Department amended the EPS solicitation in an apparent

attempt to remove its prior objective of having the EPS awardee provide transitional business

process operations. The Department did not remove its line items or objectives that require the


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single EPS awardee to be responsible for all printing/mailing/imaging, which together constitute

a considerable aspect of loan servicing. Further, the Department added that at any point

throughout the EPS contract’s ten-year term, the EPS awardee may be required to perform, via

“manual intervention,” certain operational functions that include tasks that MOHELA and

GSMR perform as loan servicers, including but not limited to:

       Payment processing, including, receipt and applications of cash and non-cash payments
        accounts as well as research and resolution of lost or misapplied payments;

       Interface support, including tracking Work in Process (WIP) and resolving rejected
        transactions from other FSA systems (e.g., NSLDS, FMS, origination system);

       Financial reporting, reconciliation and variance research;

       As needed support of audits (e.g., annual audit reports such as the Service Organization
        Controls Type II Statements on Standards for Attestation Engagements (SSAE18));

       Research and resolution of treasury issues;

       Loan consolidation origination applications and request processing;

       Comprehensive cash management;

       Dynamic loan portfolio management;

       Effective internal financial controls; and,

       Credit bureau research resolution, including direct and indirect credit bureau disputes
        filed by customers or initiated by the credit bureaus.

EPS solicitation, p. 10, § C.3.3.b.

        67.    In addition, the EPS solicitation provides that the solution “shall conduct error

and dispute resolution investigation and processing, including, but not limited to … Account

maintenance, including manual correction of errors identified through data integrity scans; and,

… Payment processing, including researching lost or misapplied payments and payment

reapplication at the request of customers or FSA.” Id. Additionally, the “Solution shall provide




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personnel to do manual processing related to financial functions, interface support, and

error/dispute investigation and processing to be performed at the portfolio level.” Id.

       68.     The current operating elements of the proposed EPS solution include migrating 37

million customer loan and grant accounts from existing servicers and from the Default

Management Collection System to the new environment. The EPS awardee is also tasked with

executing the full range of “life of the loan” servicing functions (such as consolidation,

origination and default support), which includes “manual intervention” on various loan servicing

tasks as listed above, an optional task for imaging, printing and mailing communications with

borrowers, and another optional task for a temporary digital engagement layer until the future

state digital platform solution is implemented.

       69.     In other words, the EPS solicitation anticipates a rapid IT development period and

up to ten years of IT support, and permits the Department to order a wide range of manual loan

servicing work thereunder at any time. When those “manual” tasks are paired with the EPS

awardee’s responsibility for all printing, mailing and imaging operations, it is clear that the

Department has retained the flexibility to order most if not all of its loan servicing needs from

the single EPS awardee. Moreover, the EPS solicitation contains no milestone(s) for the

onboarding of awardees under the BPO solicitation to the new platform.

       70.     In accordance with the terms of the EPS solicitation, MOHELA timely submitted

questions to the Department before January 30, 2019. On February 19, March 6, March 19, and

March 26, the Department published responses to a total of 117 offeror questions. Those

responses did not address a substantial number of questions that had been raised by MOHELA.

       71.     The Department’s response to relevant questions include the following:




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                 Question 2: Will multiple contracts for Enhanced Processing Solutions be
                  awarded?

                     o Answer: FSA intends to make one award for the Enhanced Processing
                       Solution.

                 Question 30: For the EPS milestones, what is the milestone to onboard separate
                  BPOs?

                     o Answer: The schedule for the EPS vendor to support the onboarding of
                       BPO providers is to be determined. However, FSA expects to make BPO
                       awards within three (3) months of the EPS award.

        72.       The due date for receipt of initial proposals under the EPS solicitation is April 2,

2019.

        73.       In summary, this purported IT solution anticipates a sole awardee providing

critical traditional loan servicing functions for an extended period.

        ii) The OPS Solicitation

        74.       Similar to the EPS solicitation, the Department describes the OPS solicitation as

the IT platform for all future student loan borrower accounts. However, it too is actually the

opening for a sole student loan servicer.

        75.       The OPS solicitation describes the Department’s objectives as follows:

                  Optimal Processing Solution shall be a highly adaptable solution
                  set which supports current and future FSA products and processes
                  across the entire lifecycle of student financing, including but not
                  limited to: functions for application for financing, to origination
                  and disbursement, to processing and servicing and pay off or
                  default. Solution will deploy integrated functions and products
                  over time. Solution shall deliver cost efficiencies through
                  significantly increased automation and a modern technical
                  backbone (e.g., modular code base, cloud operability, two speed
                  development compatibility, and/or innovative middleware)
                  Solution shall better support changing rules, laws, and regulations
                  with minimal operational complexity through the greater flexibility
                  afforded by having separate rules engine(s) and integrated process
                  workflows.

OPS solicitation, p. 7, § C.2.1 (emphasis added).

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       76.     The OPS solicitation currently anticipates awarding a single firm-fixed price

contract with a one-year base period and nine one-year option periods.

       77.     When the OPS solicitation was originally published on January 15, 2019, it also

included a line item and ordering procedures for business process operations, including a base

ordering period of five years and two five-year optional ordering periods. On March 27, 2019,

the Department amended the OPS solicitation to, among other things, remove the business

process operations line item. However, the “operating elements” and related requirements still

include critical aspects of loan servicing as described below.

       78.     As currently structured, the OPS solicitation includes three operating elements for

development/implementation of different aspects of the solution, as well as three corresponding

operating elements for maintenance of those respective solutions. Specifically, Operating

Element 1 includes development/maintenance of the “Eligibility Processing Solution,” Operating

Element 2 includes development/maintenance of the “Origination and Disbursement Processing

Solution,” and Operating Element 3 is development/maintenance of the “Servicing Support

Solution.”

       79.     With respect to Operating Element 3, the OPS solicitation states that the solution

shall execute the full range of “life of the loan” servicing functions. In relevant part, the

solicitation requires the OPS awardee’s “solution” to execute a list of “student financing

servicing functions,” including “but not limited to”:

              loan status tracking;

              eligibility requirement assessment/annual recertification;

              loan consolidation origination;

              switching repayment plans; and


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                 retroactive processing.

OPS solicitation, Am. 2, p. 21 (emphasis added).

       80.        The OPS awardee’s “solution” is also required to perform a list of “financial and

portfolio level functions,” including “but not limited to”:

                 payment processing;

                 interface support;

                 financial reporting/reconciliation;

                 audit support;

                 treasury issues;

                 loan consolidation origination applications and request processing;

                 cash management;

                 credit disputes;

                 portfolio management; and

                 internal financial controls.

Id., pp. 21-22 (emphasis added).

       81.        The OPS solicitation also requires that the “solution” conduct “error and dispute

resolution investigation and processing, including, but not limited to…Account maintenance,

including manual correction of errors identified through data integrity scans, and…Payment

processing, including researching lost or misapplied payments and payment reapplication at the

request of customers or FSA.” Id., p. 22.

       82.        Again, the foregoing represent tasks that MOHELA and GSMR perform today as

loan servicers.




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          83.   With respect to the separate BPO solicitation, the OPS solicitation ambiguously

states:

                Solution shall automate all possible servicing and other functions
                to minimize manual processing. Solution may only rely on
                streamlined manual processing by the separately provided
                Business Process Operations in the cases where automation is not
                feasible; however, Solution shall provide personnel to do manual
                processing related to financial functions and error/dispute
                investigation and processing to be performed at the portfolio level.

Id. (emphasis added).

          84.   Despite the references to business process operations being contracted separately,

the OPS solicitation provides no guidance on what is meant by FSA’s incorporation of personnel

under OPS to perform manual processing, FSA’s intended meaning of the phrase “at the

portfolio level,” or how such a distinction could possibly comply with the appropriations laws

which obligate the Department to contract directly with multiple student loan servicers to

manage unique portfolios from disbursement to pay-off. Moreover, the OPS solicitation contains

no milestone(s) for the onboarding of awardees under the BPO solicitation to the new platform.

          85.   These ambiguous and conflicting statements, combined with the fact that the

Department is separately soliciting these services under the BPO solicitation, leaves it entirely

unclear whether any manual aspects of loan servicing are included in the OPS solicitation’s

requirements and, if so, the extent of that loan servicing work.

          86.   In accordance with the terms of the OPS solicitation, MOHELA timely submitted

questions to the Department before February 8, 2019. On March 27, 2019, the Department

published responses to a total of 135 offeror questions. Those responses did not address a

substantial number of questions that had been raised by MOHELA.




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        87.    The due date for receipt of initial proposals under the OPS solicitation is May 8,

2019.

        88.    This purported IT solution contains critical traditional loan servicing functions.

        iii) The BPO Solicitation

        89.    The BPO solicitation is touted by the Department as the contract vehicle for

actual student loan servicing. As described herein, the concern is that the Department will never

get to this solicitation (it has no proposal due date) and will instead have the servicing performed

under the EPS/OPS solicitations.

        90.    The BPO solicitation describes the Department’s objectives as follows:

               Business Process Operations will support efficient and effective
               operations, across the entire life cycle of student financing (from
               application for financing, to origination and disbursement, to
               processing and servicing and pay-off or default). Business
               Process Operations will do so under FSA’s single brand, by
               providing the personnel necessary to respond to inbound customer
               (e.g. student applicants, borrowers, etc.) and partner (e.g. schools)
               inquiries, execute separately-developed outbound outreach
               campaigns, and perform back-office processing activities that
               cannot be automated. These personnel will provide an enhanced
               level of service, across the full life cycle of student financing,
               beyond today’s environment and one that is consistent with leading
               financial services providers and other industry leaders recognized
               for their customer service. Solutions will also support the seamless
               transition of customers and partners from existing to new solutions,
               most especially the Enhanced Processing Solution and/or Optimal
               Processing Solutions, Digital Platform, and Contact Center.

        91.    The BPO solicitation anticipates multiple contract awards with a base ordering

period of five years with one five-year optional ordering period.

        92.    The operating elements of the BPO solicitation include providing contact center

support and back-office activities across the life cycle of student financing, “especially those

[sic] cannot be automated with other relevant solutions.” The BPO solicitation specifically



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excludes imaging, printing and mailing operations from the back-office processing tasks, even

though those operations require substantial manual effort.

          93.   In accordance with the terms of the BPO solicitation, MOHELA and GSMR

timely submitted questions to the Department before February 8, 2019. On February 20, 2019,

the Department published responses to 22 offeror questions. Those responses did not address a

substantial number of questions that had been raised by MOHELA and GSMR.

          94.   The BPO solicitation does not provide a due date for the submission of initial

proposals. Rather, the BPO solicitation states: “The Government will post the proposal due date

for all volumes after an award for the Enhanced Processing Solution is made.”

                                             COUNT I

  THE EPS SOLICITATION AND OPS SOLICITATION ARE CONTRARY TO LAW
  BECAUSE THEY VIOLATE THE FY 2018 AND FY 2019 APPROPRIATIONS ACTS

          95.   Plaintiff incorporates by reference Paragraphs 1 through 94 as if fully set forth

herein.

          96.   While the recent solicitation amendments purport to direct the focus of the EPS

and OPS solicitations on procuring IT systems, those solicitations still contain critical, traditional

loan servicing functions which seemingly can be continued with a single awardee for up to ten

years. This undercuts the integrity, and quite possibly the viability, of the BPO solicitation and

highlights the necessity for the solicitations to proceed on parallel tracks in order to comply with

the law and ensure the EPS or OPS awardee is not performing loan servicing.

          97.   For instance, Congress has repeatedly expressed that the Department must

contract for student loan servicing using a performance-based approach that enables ongoing

competition and choices among multiple loan servicers. Going back to the FY 2016

Appropriations Act, Congress mandated that the Department allocate new student loan borrower


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accounts to eligible student loan servicers (both TIVAS entities and NFPs) on the basis of their

performance compared to all loan servicers utilizing established common metrics, and based on

the capacity of each servicer to process new and existing accounts, providing:

                  …That the Secretary shall, no later than March 1, 2016, allocate
                  new student loan borrower accounts to eligible student loan
                  servicers on the basis of their performance compared to all loan
                  servicers utilizing established common metrics, and on the basis of
                  the capacity of each servicer to process new and existing accounts.

“Consolidated Appropriations Act, 2016,” Pub. L. No. 114-113, Dec. 18, 2015, 129 Stat. 2242,

Div. H, Title III.

        98.       The FY 2017 statute reiterated this directive and added that the Department must

permit choices for borrowers among student loan servicers when consolidating their student

loans, stating:

                  … That the Secretary shall allocate new student loan borrower
                  accounts to eligible student loan servicers on the basis of their
                  performance compared to all loan servicers utilizing established
                  common metrics, and on the basis of the capacity of each servicer
                  to process new and existing accounts...

                  Provided further, That the Secretary shall … allow student loan
                  borrowers who are consolidating Federal student loans to select
                  from any student loan servicer to service their new consolidated
                  student loan.

“Consolidated Appropriations Act, 2017,” Pub. L. No. 115-31, May 5, 2017, 131

Stat. 135, Div. H, Title III.

        99.       Accordingly, through FY 2017, Congress had expressed its intent and mandate

that the Department shall allocate new borrower accounts among the TIVAS entities and NFP

servicers based on performance metrics and shall allow borrowers to have choices among the

loan servicers when consolidating student loans.




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       100.   The FY 2018 Appropriations Act expanded on these directives by explaining

their applicability to the FSA’s NextGen procurement:

              For Federal administrative expenses to carry out part D of title I,
              and subparts 1, 3, 9, and 10 of part A, and parts B, C, D, and E of
              title IV of the HEA, and subpart 1 of part A of title VII of the
              Public Health Service Act, $1,678,943,000, to remain available
              through September 30, 2019…

              Provided, That the Secretary shall allocate new student loan
              borrower accounts to eligible student loan servicers on the basis of
              their performance compared to all loan servicers utilizing
              established common metrics, and on the basis of the capacity of
              each servicer to process new and existing accounts…

              Provided further, That the Secretary shall … allow student loan
              borrowers who are consolidating Federal student loans to select
              from any student loan servicer to service their new consolidated
              student loan under the current student loan servicing contracts…

              Provided further, That in order to promote accountability and high-
              quality service to borrowers, the Secretary shall not award
              funding for any contract solicitation for a new Federal student
              loan servicing environment, including the solicitation for the
              FSA Next Generation Processing and Servicing Environment as
              amended by the Department of Education on February 20, 2018,
              unless such an environment provides for the participation of
              multiple student loan servicers that contract directly with the
              Department of Education to manage a unique portfolio of
              borrower accounts and the full life-cycle of loans from
              disbursement to pay-off with certain limited exceptions, and
              allocates student loan borrower accounts to eligible student loan
              servicers based on performance…

              Provided further, That such servicers described in the previous
              proviso shall be evaluated based on their ability to meet contract
              requirements, future performance on the contracts, and history of
              compliance with applicable consumer protections laws…

“Consolidated Appropriations Act, 2018,” Pub. L. No. 115-141, Mar. 23, 2018, 132 Stat. 348,

Division H, Title III (bold emphasis added).




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       101.    Substantially similar language was included by Congress and signed into law in

the FY 2019 Appropriations Act:

               For Federal administrative expenses to carry out part D of title I,
               and subparts 1, 3, 9, and 10 of part A, and parts B, C, D, and E of
               title IV of the HEA, and subpart 1 of part A of title VII of the
               Public Health Service Act, $1,678,943,000, to remain available
               through September 30, 2020…

               Provided, That the Secretary shall allocate new student loan
               borrower accounts to eligible student loan servicers on the basis of
               their performance compared to all loan servicers utilizing
               established common metrics, and on the basis of the capacity of
               each servicer to process new and existing accounts...

               Provided further, That for student loan contracts awarded prior to
               October 1, 2017, the Secretary shall allow student loan borrowers
               who are consolidating Federal student loans to select from any
               student loan servicer to service their new consolidated student
               loan…

               Provided further, That in order to promote accountability and high-
               quality service to borrowers, the Secretary shall not award
               funding for any contract solicitation for a new Federal student
               loan servicing environment, including the solicitation for the
               FSA Next Generation Processing and Servicing Environment as
               amended by the Department of Education on February 20, 2018,
               unless such an environment provides for the participation of
               multiple student loan servicers that contract directly with the
               Department of Education to manage a unique portfolio of
               borrower accounts and the full life-cycle of loans from
               disbursement to pay-off with certain limited exceptions, and
               allocates student loan borrower accounts to eligible student loan
               servicers based on performance…

               Provided further, That such servicers described in the previous
               proviso shall be evaluated based on their ability to meet contract
               requirements, future performance on the contracts, and history of
               compliance with applicable consumer protections laws…

“Department of Defense and Labor, Health and Human Services, and Education Appropriations

Act, 2019 and Continuing Appropriations Act, 2019,” Pub. L. No. 115-245, Sept. 28, 2018, 132

Stat. 2981, Div. B, Title III (bold emphasis added).


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       102.     As these laws repeatedly reflect, Congress’ intent and mandates would be

completely frustrated were the Department to (i) funnel all Direct Loan servicing to a single

contractor, or (ii) compartmentalize aspects of traditional student loan servicing work such that

loan servicers could not manage the full life cycle with respect to their own unique portfolio of

borrower accounts.

       103.    Undeterred by Congress’ repeated mandates, the EPS solicitation requires the

single contract awardee to begin migrating customer accounts to its newly developed

environment within six months of contract award, and the EPS solicitation includes the ability

for that single contract awardee to perform a wide range of manual and critical loan servicing

functions on all loans residing on its system. In addition, all existing customer accounts are to be

migrated to the new environment within ten months of the EPS contract award – meaning the

Department has retained the flexibility to make the EPS awardee responsible for servicing the

Department’s entire portfolio of over 37 million student loan accounts, irrespective of Congress’

directives.

       104.    Compounding all of this are the facts that (i) the BPO solicitation contains no date

for the receipt of proposals; (ii) neither the EPS solicitation nor the OPS solicitation contains any

milestone(s) for onboarding BPO awardees to their respective platforms; (iii) the Department is

under no obligation to make contract awards under the BPO solicitation, particularly if that

solicitation is mired in its own protests; and (iv) the existing loan servicing contracts of

MOHELA, GSMR and other loan servicers expire in September 2019.

       105.    Thus, while the Department contends that multiple servicers will be able to

compete for awards under the BPO solicitation, the Department has also made plans to obtain its

loan servicing work for up to ten years from a single vendor under the EPS solicitation. The



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outcome is apparent from the EPS solicitation’s requirement to “rapidly migrate” all existing

loan accounts to the EPS vendor, as contrasted with the Department stating it will not even

establish proposal due dates for the BPO solicitation until after the EPS contract is awarded. If

MOHELA and GSMR lose all of their current servicing volume through the “rapid migration” to

EPS, and then they are required to wait several years before becoming providers under the BPO

solicitation, the Department will have effectively “starved out” both MOHELA and GSMR. The

Department is required to comply with the Appropriations Acts provisions by revamping the

solicitation process to provide from the outset for multiple student loan servicers – contracting

directly with the Department – to provide BPO services immediately upon implementation of the

EPS system.

       106.    Similarly, the OPS solicitation anticipates a single contract awardee and includes

numerous critical loan servicing functions as well as an open-ended ability to procure “manual

processing” related to financial functions, interface support and error/dispute investigation and

processing. Thus, although the OPS solicitation does not clearly describe what requirements are

being procured thereunder, the Department has drafted the OPS solicitation in a manner that

could also include providing business process operations for the entire portfolio of student loan

accounts contrary to the appropriations laws.

       107.    To the extent the EPS solicitation and OPS solicitation anticipate “teaming”

among loan servicers and IT developers, such arrangements do not satisfy the FY 2018 and FY

2019 Appropriations Acts – which require that “for any contract solicitation for a new Federal

student loan servicing environment,” the Department must ensure “participation of multiple

student loan servicers that contract directly with the Department of Education…” See Pub. L.

No. 115-245 (emphasis added).



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       108.    It is equally important that the FY 2018 and FY 2019 Appropriations Acts

obligate the Department to ensure that each loan servicer is assigned “to manage a unique

portfolio of borrower accounts and the full life-cycle of loans from disbursement to pay-off …”

See id. The plain meaning of this statutory language is that each of the multiple servicers must

be assigned a portfolio of borrower accounts that is unique to that servicer, which is responsible

for managing those accounts through their full life-cycle from disbursement to pay-off.

       109.    Now, via the EPS and OPS solicitations, the Department is dividing up portions

of that loan servicing work, such that the single contractor selected under EPS (for current

accounts) and under OPS (for future-state accounts) will perform some segments of the work,

e.g., manual processing related to payment processing, interface support, financial functions and

error/dispute investigation and processing. Consequently, loan servicers that are selected under

the BPO solicitation will not be given the opportunity to service the full life-cycle of their

portfolio of borrower accounts, which is directly contrary to the appropriations laws.

       110.    MOHELA submitted questions to the Department as to how the EPS and OPS

solicitations complied with the appropriations laws, but the Department has not responded.

       111.    In sum, the EPS and OPS solicitations, while purporting to focus solely on

procuring IT solutions, contain critical loan servicing functions that can be performed for up to

ten years by the single EPS/OPS awardee. As such, the EPS and OPS solicitations undermine

the integrity and potential viability of the BPO solicitation and highlight the need for the

Department to proceed with these solicitations on parallel tracks. Moreover, the Department has

structured the EPS and OPS solicitations in a manner that could create a servicing monopoly

scheduled to last for many years, as well as a single point of failure that could result in

tremendous difficulties and costs for the Department, the borrowers and the American taxpayers,



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all of which directly conflict with Congress’ mandate and intent expressed in the FY 2018 and

FY 2019 Appropriations Acts. Consequently, the terms of the EPS and OPS solicitations are

arbitrary, capricious, and an abuse of discretion, and flatly contrary to applicable law.

                                             COUNT II

                             THE NEXTGEN SOLICITATIONS
                         VIOLATE THE HIGHER EDUCATION ACT

          112.   Plaintiff incorporates by reference Paragraphs 1 through 111 as if fully set forth

herein.

          113.   The Higher Education Act provides the Department its authority to “enter into

contracts for…the servicing and collection of loans made or purchased” in the Direct Loan

Program. 20 U.S.C. § 1087f(b).

          114.   With respect to such contracts, the Higher Education Act further states:

                 The entities with which the Secretary may enter into contracts shall
                 include only entities which the Secretary determines are qualified
                 to provide such services and supplies and will comply with the
                 procedures applicable to the award of such contracts. In the case of
                 awarding contracts for the origination, servicing, and collection of
                 loans under this part, the Secretary shall enter into contracts only
                 with entities that have extensive and relevant experience and
                 demonstrated effectiveness. The entities with which the Secretary
                 may enter into such contracts shall include, where practicable,
                 agencies with agreements with the Secretary under sections
                 1078(b) and (c) of this title, if such agencies meet the
                 qualifications as determined by the Secretary under this subsection
                 and if those agencies have such experience and demonstrated
                 effectiveness. In awarding contracts to such State agencies, the
                 Secretary shall, to the extent practicable and consistent with the
                 purposes of this part, give special consideration to State agencies
                 with a history of high quality performance to perform services for
                 institutions of higher education within their State.

20 U.S.C. § 1087f(b) (the “Special Consideration Law”) (emphasis added).




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       115.    As relevant to the Special Consideration Law, MOHELA has a history of high-

quality performance in student loan servicing and entered into agreements with the Department

under 20 U.S.C. § 1078(b) and (c), which allowed participation in FFELP and under which loan

servicing and collections work continue to be performed to this day. Accordingly, the

Department is required by statute to give “special consideration” to MOHELA in awarding

contracts for the origination, servicing, and collection of loans.

       116.    Similarly, GSMR has a history of high-quality performance in student loan

servicing and its sister organization, NHHEAF, entered into agreements with the Department

under 20 U.S.C. § 1078(b) and (c), which allowed participation in FFELP and under which loan

servicing and collections work continue to be performed to this day. Specifically, GSMR

provides loan servicing work for those FFELP loans made by the New Hampshire Higher

Education Assistance Foundation. Accordingly, the Department is also required by statute to

give “special consideration” to GSMR in awarding contracts for the origination, servicing, and

collection of loans.

       117.    Contrary to the foregoing Special Consideration Law, none of the three NextGen

solicitations includes any such “special consideration” or preference for State agencies with

agreements under 20 U.S.C. § 1078(b) and (c) and which have a history of high-quality

performance.

       118.    Further, MOHELA and GSMR have extensive and relevant experience and

demonstrated effectiveness in student loan servicing, as well as a history of high-quality

performance. In fact, MOHELA has been ranked as the highest performing servicer, as

measured by the Department’s performance metrics, in every rating period in recent years.




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          119.   Contrary to the Special Consideration Law, the OPS and EPS solicitations do not

even require offerors to have or submit past performance with respect to their student loan

servicing work, let alone require that the selected contractor have “extensive and relevant

experience and demonstrated effectiveness” in student loan servicing. The Department’s failure

to require that the EPS and OPS offerors demonstrate their background in performing loan

servicing functions is particularly alarming because, as set forth above, the EPS and OPS

solicitations contemplate that the awardees could perform such work for up to ten years.

          120.   MOHELA submitted questions to the Department asking how the EPS and OPS

solicitations comply with the Special Consideration Law, but the Department has not responded.

          121.   The Department’s failure to comply with the statutory requirements of the Special

Consideration Law in the context of procuring student loan servicing and debt collection work

further renders the NextGen solicitations as arbitrary, capricious, and an abuse of discretion, and

contrary to applicable law.

                                              COUNT III

                   THE EPS AND OPS SOLICITATIONS
      IMPROPERLY CONSOLIDATE THE DEPARTMENT’S REQUIREMENTS

          122.   Plaintiff incorporates by reference Paragraphs 1 through 121 as if fully set forth

herein.

          123.   The CICA requires that solicitations include specifications which permit full and

open competition and contain restrictive provisions only to the extent necessary to satisfy the

needs of the agency. 41 U.S.C. § 3306(a)(2). Unless necessary to satisfy an agency’s legitimate

needs, this requirement is construed as precluding the bundling or consolidation of separate

requirements in a solicitation where doing so restricts competition by excluding firms that can

furnish only a portion of the requirements.


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       124.    Here, the EPS solicitation consolidates requirements that were not previously

contracted on a bundled basis, namely, manual loan servicing work and the development of a

new loan servicing IT system. Similarly, the OPS solicitation is written so ambiguously that the

Department could arguably include all of its business process operations support together with its

acquisition of the loan servicing IT system.

       125.    The business process operations aspect of this program includes all direct

borrower interactions, e.g., phone calls, e-mails, and mailings. As set forth above, for the past

ten years, the entire portfolio of non-defaulted student loan accounts under the Department’s

program has been serviced under multiple prime contracts between the Department and student

loan servicers, including MOHELA and GSMR/NHHELCO. Those contracts did not require the

prime contractors to maintain or use a common loan servicing solution; rather, the loan servicers

were able to use their own loan servicing system, or a licensed system of their choosing, and

their contract pricing was required to include the costs for such systems that needed to be

compliant for servicing federally-held debt. Since the entities providing customer service have

not previously had a need to develop such a loan servicing system, acquiring or developing such

a system now, together with the actual servicing of the entire portfolio of student loan accounts

on a bundled basis, has the potential effect of greatly limiting the competition.

       126.    Further, the Agency has no reasonable need to acquire customer service for its

entire portfolio of student loan accounts from a single entity, especially on terms that could

extend for ten years, let alone from the same entity that develops the new IT system. In fact,

procuring the servicing component separately through multiple student loan servicers (as the

Department has done in recent years) has the added benefit of enabling a servicing environment




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that fosters competition and rewards superior performance – and would be consistent with the

mandates of Congress in the FY 2018 and FY 2019 Appropriations Acts.

        127.    Indeed, by separately soliciting loan servicing work under the BPO solicitation,

the Department has already acknowledged that it does not actually need these two requirements –

IT system development/implementation and loan servicing – to be procured under the same

solicitation.

        128.    Further, the Department’s approach of acquiring all of its loan servicing work

from the same, single entity providing the loan servicing IT system will create a servicing

monopoly for a protracted period under the awarded EPS or OPS contracts, as well as a single

point of failure that could result in tremendous difficulties and costs for the Department, the

borrowers and the American taxpayers. And, as noted above, the Department is not even asking

that the EPS or OPS offerors provide any evidence demonstrating their experience or

effectiveness in performing loan servicing functions.

        129.    While the Agency may contend that awarding a single-system, single-servicer

contract will be more administratively convenient than awarding multiple contracts under the

BPO solicitation, or that the loan servicers can participate by teaming or subcontracting with the

EPS and/or OPS contract awardee, relevant GAO bid protest decisions have held that such

arguments do not justify consolidating the requirements. This is especially true where the

consolidation results in a single loan servicer – as well as in denying loan servicers the ability to

manage unique portfolios of borrower accounts over their full life cycle – contrary to the explicit

mandates of Congress in the FY 2018 and FY 2019 Appropriations Acts.

        130.    For these reasons, the Agency’s decision to bundle or consolidate in a single

contract all, or a substantial portion of, servicing of the Department’s entire portfolio of over 37



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million student loan accounts with the acquisition of a common loan servicing system in the EPS

and OPS solicitations is unreasonable and contrary to the CICA’s requirements.

                                             COUNT IV

                           THE NEXTGEN SOLICITATIONS
                  VIOLATE THE COMPETITION IN CONTRACTING ACT

          131.   Plaintiff incorporates by reference Paragraphs 1 through 130 as if fully set forth

herein.

          132.   The CICA requires contracting agencies to specify their needs and solicit

proposals in a manner designed to achieve full and open competition, and to clearly delineate all

significant factors and sub-factors that will be considered in the evaluation. 41 U.S.C. § 3306(a)

and (b); see also FAR 15.304(d) and 15.101-1(b).

          133.   Relatedly, FAR part 5 requires contracting agencies to publicize contract actions

in order to increase competition and to include in those publications a “clear and concise

description of the supplies or services that is not unnecessarily restrictive of competition and will

allow a prospective offeror to make an informed business judgment” on whether to participate.

See, e.g., FAR 5.002 and 5.207.

          134.   The milestones, objectives and operating elements of the EPS, BPO and OPS

solicitations are structured in a manner that could be used to make the single EPS awardee

responsible for servicing all or a substantial portion of the Department’s entire portfolio of over

37 million student loan accounts for up to its full ten-year period, notwithstanding the fact that

the EPS awardee was not required to submit past performance on its student loan servicing

capabilities and notwithstanding the FY 2018 and FY 2019 Appropriations Acts mandating that

any new environment include multiple servicers contracting directly with the Department.




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       135.    Only after making the EPS contract award will the Department then set a deadline

for submission of proposals under the BPO solicitation and begin the process of acquiring those

services. Upon the BPO contract awards being issued and those contractors becoming “fully

operational,” it is completely unclear if the EPS awardee or the BPO awardees will be

performing manual loan servicing work or if loan servicing work will be segregated among them

contrary to the Appropriations Acts. For example, both the EPS and BPO solicitations include

manual work covering payment processing, loan consolidation origination applications and

request processing, treasury offset issues, and credit bureau disputes. Compare, e.g., BPO

solicitation, p. 58, § L-2.4.1.2 (requiring that the BPO offerors’ proposed performance work

statement address “How the Solution will accurately, effectively, and efficiently execute contact

center support and back-office processing across the full life cycle of student

financing…[and]…How the Solution will execute … claims (e.g., discharge, forgiveness), credit

disputes and reporting, and consolidation origination.”) and EPS solicitation, p. 10, § C.3.3.b

(requiring that the EPS awardee provide a solution as well as personnel to perform manual

intervention on, inter alia, payment processing, financial reporting, loan consolidation

origination, credit bureau research resolution and disputes, etc). In addition, there are no pricing

mechanisms established under the EPS solicitation for loan servicing work.

       136.    Concurrent with all of this, the OPS awardee will be building a new software

system for student loan processing that will be operational within two years. Thereafter, the OPS

solicitation includes only a list of “TBD” milestones for launching unidentified operating

elements of the system. Immediately upon implementation of the OPS solution, the Department

will need contractors to service the loans, yet there is no milestone or schedule whereby BPO

awardees will be on-boarded to that solution. Rather, the OPS solicitation describes the required



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support in an ambiguous manner that leaves offerors unsure if the OPS awardee itself will be

responsible for servicing the Department’s loan portfolio or, if not, whether/how the various

aspects will be divided among which contractors.

       137.    Altogether, these milestones create a conflated and confusing operational

structure whereunder potential bidders such as MOHELA and GSMR are unable to identify

which aspects of the procurement will actually include loan servicing work, let alone how the

loan servicing work will integrate with the other solutions.

       138.    In sum, the Department’s inclusion of manual loan servicing work in the OPS and

EPS solicitations conflicts with statutory requirements, leaves offerors confused about which

aspects of the awarded contracts will be utilized for loan servicing, and undermines the

milestones in all three solicitations. Further, if the BPO solicitation is intended to be the

Department’s solution for loan servicing work, then there is no rational basis for the BPO

solicitation progressing on a separate and substantially delayed path from the EPS and OPS

solicitations. The Court should require that the Department fulfill its statutory obligations by

revamping the solicitations to ensure the BPO awardees – and only the BPO awardees – perform

all loan servicing functions in the NextGen environment.

       139.    For all of these reasons, and in violation of the CICA and FAR parts 5 and 15, the

Agency has failed to delineate its requirements and objectives for the NextGen solicitations in a

manner that enables offerors to make intelligent business decisions about which aspects of the

procurement to compete upon, and has otherwise drafted its requirements in a manner that is so

ambiguous as to preclude a fair competition.




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                                    PRAYER FOR RELIEF

       WHEREFORE, for the reasons set forth herein, MOHELA and GSMR respectfully

request that this Court enter judgment in MOHELA’s and GSMR’s favor and against Defendant,

and provide the following relief:

       A.      A judgment declaring that the terms of the Department’s NextGen solicitations

are arbitrary and capricious, an abuse of discretion, and otherwise violate the applicable

appropriations laws, the Special Consideration Law, the CICA, and the FAR.

       B.      Preliminary and permanent injunctive relief prohibiting the Department from

proceeding with the NextGen solicitations until it has:

               (1) Removed business process operations (including related
               support activities such as print/mail, financial-related functions,
               manual processing/support, error/dispute resolution and other
               borrower interactions that encompass traditional loan servicing
               functions) from the EPS and OPS solicitations as an unlawful
               consolidation of requirements and contrary to the appropriations
               laws;

               (2) Established a procurement approach that ensures multiple
               student loan servicers contract directly with the Department from
               the start of implementing the EPS solution by conducting the BPO
               solicitation concurrently with the EPS solicitation;

               (3) Provided “special consideration” in the solicitations as required
               by the Special Consideration Law in the Higher Education Act to
               MOHELA, GSMR and other eligible contractors based on their
               participation in the FFELP and history of high-quality
               performance;

               (4) Established proposal and evaluation requirements that will
               ensure any contracts for loan servicing and collections are awarded
               only to entities that “have extensive and relevant experience and
               demonstrated effectiveness” as required by statute;

               (5) Clarified its requirements relative to all three NextGen
               solicitations to rectify their ambiguous and unlawful terms, and



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              (6) Provided interested offerors a fair and reasonable opportunity
              to compete.

       C.     Alternatively, preliminary and permanent injunctive relief requiring the

Department to cancel the current NextGen solicitation and issue new solicitations that provide

for multiple loan servicers in compliance with the applicable appropriations statute, maximize

competition under applicable law by affording MOHELA, GSMR and similarly-situated student

loan servicers an opportunity to compete, and accurately reflect the Agency's needs.

       D.     All such other relief as this Court may deem just and proper.

                                     Respectfully submitted,


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Dated: April 1, 2019




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                                  CERTIFICATE OF SERVICE


       I hereby certify that on April 1, 2019, I caused copies of the Plaintiffs' Complaint to be

served by electronic mail upon:

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